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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

UNIVERSITIES SUPERANNUATION                  )
SCHEME, LTD., acting as sole corporate       )
                                             )
trustee of Universities Superannuation       )
Scheme,                                      )   CASE NO. 4:14-cv-1280
                                             )
                  Plaintiff,                 )   JURY TRIAL DEMANDED
v.                                           )
                                             )
                                             )
BP PLC, et al.,
                                             )
                                             )
                  Defendants.                )
                                             )




                                 INDEX OF DOCUMENTS BEING
                               FILED WITH NOTICE OF REMOVAL


Civil Cover Sheet

List of Counsel of Record

Exhibits to the Notice of Removal                                        Exhibit

Plaintiff’s Original Petition                                              A

Civil Case Information Sheet                                               B

Harris County Docket Sheet                                                 C

Notice of Removal in State Court                                           D

Information Requirements for Exploration Plans
and Development Operations Coordination Documents
NTL No. 2008-G04, issued April 1, 2008                                     E




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